Disciplinary Board v. Halvorson, 1997 ND 129, 566 N.W.2d 406|N.D. Supreme Court|Disciplinary Board v. Halvorson, 1997 ND 129, 566 N.W.2d 406[Go to Documents]Filed July 16, 1997IN THE SUPREME COURTSTATE OF NORTH DAKOTAORDER OF SUSPENSIONSupreme Court No. 9701401997 ND 129IN THE MATTER OF THE APPLICATION FOR DISCIPLINARY ACTION AGAINST RICHARD W. HALVORSON, A MEMBER OF THE BAR OF THE STATE OF NORTH DAKOTADisciplinary Board of the Supreme Court of the State of North Dakota, Petitionerv.Richard W. Halvorson, RespondentOn November 26, 1996, Richard W. Halvorson, was personally served with a Summons and Petition for Discipline. The matter was assigned to a three-member Hearing Body of the Disciplinary Board. Halvorson did not answer the Summons and Petition and the charges were deemed admitted under Rule 3.1(E)(2), NDRLD. A Motion for Default was filed by the Assistant Disciplinary Counsel and on April 3, 1997, the Hearing Body filed its Report with the Disciplinary Board.The Hearing Body found that beginning January 1, 1996, Halvorson was suspended from the practice of law for failure to comply with continuing legal education requirements and that Halvorson was not reinstated to the practice of law until July 10, 1996. Additionally, the Hearing Body found Halvorson continued to practice law during the period of his suspension.The Hearing Body further found, under Standard 9.22(I), North Dakota Standards for Imposing Lawyer Sanctions, (NDSILS), Halvorson, having been admitted in July of 1969, had substantial experience in the practice of law which is an aggravating factor, and, under Standard 7.2, NDSILS, suspension is generally appropriate when a lawyer knowingly engages in conduct that is a violation of a duty owed to the profession and causes injury or potential injury to a client, the public or legal system.The Hearing Body recommended that Halvorson be suspended from the practice of law for a period of six months and that he pay the costs and expenses of the disciplinary proceedings. The Disciplinary Board of the Supreme Court adopted the Report of the Hearing Body and filed its Report with the Supreme Court on May 21, 1997, for consideration under Rule 3.1(G), NDRLD. No objections to the Report of the Disciplinary Board were filed by Halvorson or Assistant Disciplinary Counsel.The Supreme Court considered the matter and finds the conduct of Halvorson violates Rule 5.5, North Dakota Rules of Professional Conduct, (NDRPC), regarding the unauthorized practice of law; Rule 4(c), North Dakota Rules for Continuing Legal Education, prohibiting an attorney from engaging in the practice of law after an order of suspension for failure to comply with continuing legal education requirements is entered until an order of reinstatement is filed; and Rule 8.4, NDRPC, through violation of Section 27-13-01(1), NDCC, maintaining respect for the Court. It is thereforeORDERED, that the Report of the Disciplinary Board is accepted and Richard W. Halvorson is SUSPENDED from the practice of law in the state of North Dakota for a period of six months effective August 1, 1997.IT IS FURTHER ORDERED, that Richard W. Halvorson pay the costs and expenses of this disciplinary proceeding in the amount of $450.25, payable to the Secretary of the Disciplinary Board. IT IS FURTHER ORDERED, that Richard W. Halvorson provide proof of compliance with Rule 6.3, North Dakota Rules for Lawyer Discipline, within 10 days of the effective date of this Order.Dated at Bismarck, North Dakota, July 16, 1997.Gerald W. VandeWalle, Chief JusticeHerbert L. Meschke, JusticeWilliam A. Neumann, JusticeDale V. Sandstrom, JusticeMary Muehlen Maring, JusticeATTEST:Penny Miller, Clerk